Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 1 of 20




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO: _________

 MELANIE E. DAMIAN, as
 Receiver for On Point Global LLC, et. al.,

        Plaintiff,

 v.

 HOLLY MELTON,
 BAKER & HOSTETLER LLP, and
 CROWELL & MORING LLP,

       Defendants.
 ______________________________________/

                                         COMPLAINT

        Plaintiff, Melanie E. Damian, in her capacity as the Court-appointed Receiver (“Plaintiff

 or the “Receiver") for On Point Global, LLC, et al 1 (the “Receivership Entities”), hereby sues

 Defendants, Holly Melton, Baker & Hostetler LLP, and Crowell & Moring LLP (collectively, the

 “Defendants”), and states as follows:




 1
  The Receivership Entities include: On Point Global LLC; On Point Employment LLC; On Point
 Guides LLC f/k/a Rogue Media Services LLC; DG DMV LLC; On Point Domains LLC; Final
 Draft Media LLC; Cambridge Media Series LLC f/k/a License America Media Series LLC; Issue
 Based Media LLC; Bella Vista Media Ltd. also d/b/a BV Media; Carganet S.A. also d/b/a G8 Labs;
 Direct Market LLC; Bluebird Media LLC; Borat Media LLC; Bring Back the Magic Media LLC;
 Chametz Media LLC; Chelsea Media LLC; Coinstar Media LLC; Domain Development Studios
 LLC; Domain Dividends Media LLC; Eagle Media LLC; Falcon Media LLC; GNR Media LLC;
 Island Media LLC; Leatherback Media Group LLC; Macau Media LLC; CEG Media LLC f/k/a
 Matzoh Media LLC; MBL Media Ltd. Inc.; Orange and Blue Media LLC; Orange Grove Media
 LLC; Panther Media LLC; Pirate Media LLC; Pivot Media Group LLC; PJ Groove Media LLC;
 Sandman Media Group LLC; Shadow Media LLC; Skylar Media LLC; Slayer Billing LLC;
 Spartacus Media LLC; Very Busy Media LLC; Wasabi Media LLC; Yamazaki Media LLC;
 Bronco Family Holdings LP a/k/a Bronco Holdings Family LP; BAL Family LP; Cardozo
 Holdings LLC; 714 Media Ltd.; Mac Media Ltd.; License America Management LLC; License
 America Holdings LLC; and Blackbird Media LLC.
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 2 of 20




                                         INTRODUCTION

        1.      This action is brought against an attorney and two law firms for negligently

 breaching their duties as attorneys and counsel to the Receivership Entities before they were placed

 in receivership in connection with a Federal Trade Commission enforcement action.

        2.      Receivership Entities On Point Global LLC, MBL Media Ltd., PBJ Media LLC,

 and Rogue Media Services LLC, and Direct Market LLC (collectively, the “OPG Entities”, further,

 this term will refer to On Point Global LLC’s overall business including its subsidiaries engaged

 in carrying out On Point Global LLC’s business model) retained the Defendants to guide and

 counsel them concerning the legal risks and implications of the OPG Entities’ business models

 and websites and whether their business models and websites complied with applicable laws,

 including the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b)

        3.      The Defendants knew or should have known that the OPG Entities’ business

 models and websites as then operating contravened federal consumer protection laws, including

 the FTC Act, and they negligently failed to warn the OPG Entities that they should make changes

 and/or modify their business practices to be in compliance with these federal consumer protection

 laws or, in the alternative, cease operations.

        4.      As more fully set forth herein, the Defendants owed a duty to the OPG Entities as

 attorneys to counsel their clients in a reasonably prudent manner consistent with applicable law.

 Defendants breached their duties as attorneys in several ways, including, but not limited to, failure

 to gain a complete understanding of the OPG Entities’ business models, websites, and operations

 and failure to competently counsel the OPG Entities regarding the legal risks of continuing to

 operate as they did.




                                                  2
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 3 of 20




        5.      On September 29, 2021, the United States District Court for the Southern District

 of Florida made a final determination contrary to the advice the Defendants had provided to the

 OPG Entities, holding, among other things, that the OPG Entities’ “paid-guide” and “Freemium”

 websites violated Section 5(a) of the FTC Act. See ECF No. 528 in Federal Trade Commission v.

 On Point Global LLC, et al., Case No. 19-25046-cv-Scola (the “FTC Enforcement Action”).

        6.      Defendants’ breaches of their duties as attorneys for the OPG Entities caused or

 was a substantial contributing factor in causing significant injuries to the OPG Entities. Further,

 the Defendants’ failure to properly counsel the OPG Entities on compliance matters caused the

 OPG Entities to incur millions of dollars in Receivership and attorneys’ fees.

        7.      The Receiver brings this action to recover the losses of the OPG Entities (now

 Receivership Entities) resulting from Defendants’ breaches of their duties.

                                          THE PARTIES

        The Plaintiff/Receiver

        8.      The Receiver was appointed in the FTC Enforcement Action by the United States

 District Court for the Southern District of Florida (the “Receivership Court”) pursuant to its Order

 Granting Ex-Parte Temporary Restraining Order and Order to Show Cause dated December 13,

 2019 [ECF No. 17] (“TRO”) and its Order Granting Motion for Preliminary Injunction dated

 January 14, 2019 [ECF No. 126] (“Preliminary Injunction”) (collectively, the “Receivership

 Orders”). The Complaint filed in the FTC Enforcement Action (the “FTC Complaint”) and the

 Receivership Orders are in the public record. 2 See Case No. 19-25046-cv-Scola.




 2
   Unless otherwise noted, all capitalized terms herein shall have the same meaning as ascribed in
 the FTC Complaint.
                                                  3
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 4 of 20




        9.      Pursuant to the Receivership Orders, the Receiver assumed “full control” of the

 Receivership Entities, with standing to investigate and prosecute claims against third parties

 including any claims in contract, law, tort, and equity.

        10.     On November 16, 2021, the Receivership Court entered its Verdict and Order

 Following Non-Jury Trial and further defined and expanded the Receiver’s powers, duties, and

 responsibilities to include development and implementation of a claims process and distribution

 plan to assure that the compensatory purposes of a civil contempt sanction of more than $102

 million dollars entered against, among others, the OPG Entities will be met. See FTC Enforcement

 Action at ECF No. 579.

        The Defendants

        11.     Defendant Baker & Hostetler LLP (“Baker”) is and was, at all material times hereto,

 a limited liability partnership, operating as an international law firm with sixteen offices

 throughout the United States, including an office in New York, New York.

        12.     Defendant Crowell & Moring LLP (“Crowell”) is and was, at all material times

 hereto, a limited liability partnership, operating as an international law firm with offices throughout

 the United States and around the world, including an office in New York, New York.

        13.     At all material times hereto, Defendant Holly Melton (“Melton”) was an attorney

 licensed to practice law and practicing law in the State of New York. At all times material hereto

 until October 21, 2018, Defendant Melton practiced with and on behalf of and was employed by

 Defendant Baker in New York, New York, and from approximately October 22, 2018 to the

 present, Defendant Melton has been employed as a partner level attorney and has practiced law

 with and on behalf of Defendant Crowell. At all times material hereto and in her employ by Baker




                                                   4
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 5 of 20




 and Crowell, Defendant Melton provided legal services from or through Baker and Crowell in

 New York, to the OPG Entities in South Florida.

        14.     At all material times between May 2017 and the present, Defendant Melton and

 several other associates and partners identified below who performed services for and provided

 legal counsel to the OPG Entities were acting within the course and scope of their duties and

 responsibilities as partner and associate level attorneys employed by Baker and Crowell

 respectively and were acting with Baker and Crowell’s respective approval and consent.

        15.     As more fully detailed herein, the Defendants provided legal services to the OPG

 Entities in connection with, among other issues, whether the OPG Entities’ business models and

 websites complied with Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

        16.     On November 16, 2021, the Receivership Court entered its Verdict and Order

 Following Non-Jury Trial and determined that the OPG Entities’ websites operated in violation of

 Section 5(a) of the FTC Act and finding On Point Global, LLC and certain of the OPG Entities

 and their principals jointly and severally liable for compensatory contempt damages in an amount

 not to exceed $102,768,235.47 (the final amount to be determined by a claims process approved

 by the Receivership Court and being implemented by the Receiver) based on those violations and

 the violations of the 2014 Permanent Injunction entered in the Acquinity Matter (see infra). See

 ECF No. 579 in the FTC Enforcement Action.



                                 JURISDICTION AND VENUE

        17.     This Court has subject matter jurisdiction over this action pursuant to Title 28,

 United States Code, Section 754, and the principles of ancillary or supplemental jurisdiction under

 Title 28, United States Code, Section 1367.


                                                 5
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 6 of 20




        18.     This Complaint is brought to accomplish the ends sought and directed by the

 Receivership Court, which, among other things, appointed Plaintiff as Receiver and authorized her

 to commence actions to recover assets and pursue claims of the Receivership Entities.

        19.     All of the Defendants are subject to the jurisdiction of this Court pursuant to Section

 48.193(1)(b), Florida Statutes, in that, as more fully shown by the facts set forth below, Defendants

 committed tortious acts within the jurisdiction, including providing legal advice in Florida, which

 was relied upon in establishing and furthering the OPG Entities’ business models, operations, and

 websites, and including providing advice to the OPG Entities through their principals located in

 South Florida. The Defendants’ tortious acts caused injuries to the OPG Entities and to the victims

 of the OPG Entities’ websites and operations within the jurisdiction. Further, each of the

 Defendants received transfers of funds, either directly or indirectly, from the OPG Entities, which

 were operating, conducting, engaging in, and carrying on illegal business operations or business

 ventures in, among other locations, the Southern District of Florida.

        20.     Defendants have sufficient minimum contacts with the State of Florida such that

 the exercise of personal jurisdiction comports with Constitutional due process requirements.

 Specifically, and not exclusively, Defendant Melton provided legal advice directly to individuals

 and entities in South Florida in connection with the advice at issue in this case, and Defendant

 Melton’s legal advice caused and contributed to violations of the FTC Act in Florida, caused and

 contributed to the substantial judgment and resulting damages to the OPG Entities which was

 ordered in the Southern District of Florida, and directly impacted consumers in South Florida.

        21.     Defendants Baker and Crowell, in addition to providing legal advice to the OPG

 Entities in South Florida, have numerous partners who are members of the Florida Bar, have filed,

 litigated, and defended numerous significant lawsuits in South Florida, and have acted through


                                                  6
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 7 of 20




 Defendant Melton, a partner of each firm, when Defendant Melton engaged in the acts described

 above and herein.

         22.     Venue is also proper in the Southern District of Florida pursuant to Title 28, United

 States Code, Section 1391(b), because a substantial part of the acts or omissions giving rise to the

 acts described and the claims set forth in this Complaint occurred in the Southern District of

 Florida.

                                    GENERAL ALLEGATIONS

                          Background of the OnPoint Entities and their Operations

         23.     From approximately January 2017 to December 2019, among other lines of

 businesses not relevant to the instant claims, the OPG Entities created and operated approximately

 ninety-seven (97) “paid guide” businesses via certain “portal sites” and approximately one hundred

 and four (104) “transaction sites,” consisting of websites with URLs that often contained the name

 of a state, a keyword related to a government-related service, and a “.org” top-level domain—for

 example, “floridadriverslicense.org.”

         24.     Consumers were directed to these “paid guide” businesses when looking for

 information on how to obtain government services, such as to renew a driver’s license or similar

 state-provided services, either via a “portal site” (which would eventually direct them to a

 “transaction site”) or via direct access to the “transaction site.”

         25.     Once on the “transaction site,” consumers could purchase pdf guides on the

 advertised government service and the OPG Entities would collect the consumers’ personal contact

 and credit card information.

         26.     Through either way of access (portal or transaction site), the consumers would then

 see links purporting to contain information entitled “Obtain Your . . . Guide,” followed by text


                                                    7
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 8 of 20




 promoting the site as being a “comprehensive source” for obtaining “all” requisite government

 services.

        27.     On neither kind of site were the consumers able to obtain the advertised services,

 as advertised. Moreover, although some of the sites contained language in small print at the

 bottom, purporting to advise consumers that they, in fact, would have to go to their state’s DMV

 services website and providing various links for same, none of the sites indicated which of those

 links were the official State DMV websites, as opposed to third-party websites or applications.

        28.     In total, during the relevant time period, the OPG Entities’ ninety-seven (97) “paid

 guide” businesses earned $85,470,480.06 through these practices.

        29.     Throughout this time, some of the OPG Entities’ advertising accounts with Google

 and Bing websites were shut down after being determined to be “high risk” to consumers and with

 a high probability of scam/fraud. Other similar third-party service providers, such as Visa, alerted

 the OPG Entities that its chargeback rates, based on successful consumer disputes to transactions,

 exceeded acceptable industry chargeback rates. These facts became known to Defendants.

                    Representation of Burton Katz in the Acquinity Matter and
                      Actual Knowledge of the 2014 Permanent Injunction

        30.     On June 16, 2014, the FTC filed an amended civil Complaint against Acquinity

 Interactive, LLC (“Acquinity”), Burton Katz (“Katz”), and others, in the matter styled Federal

 Trade Commission v. Acquinity Interactive, LLC, et al., Case No. 14-60166-cv-Scola (“Acquinity

 Matter”) alleging, among other things, that Katz, through Acquinity, engaged in deceptive and

 unfair “cramming” on mobile phone bills [see Acquinity Matter, ECF No. 135 at p.2]. The FTC

 further alleged that Katz and his business operation tricked consumers into signing up for costly

 phone bill subscriptions through websites that offered free merchandise in exchange for

 consumers’ phone numbers. Katz’s operation then enrolled the consumers in unwanted premium

                                                  8
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 9 of 20




 text messaging services that charged them monthly. The only mention of the charges appeared in

 separate hyperlinked pages or in small print and locations where consumers were unlikely to

 notice. See Acquinity Matter, ECF No. 135 at p.2.

         31.    In or about July 2014, Katz retained Linda Goldstein, then an attorney employed

 by the law firm, Manatt, Phelps & Phillips, LLP, to represent him in the Acquinity Matter

 proceedings. At the time, Defendant Melton was also working as an attorney employed by Manatt,

 Phelps & Phillips, LLP and was involved in representing Katz in the Acquinity Matter.

         32.    On or about October 16, 2014, the District Court presiding over the Acquinity

 Matter (the “Contempt Court”) entered a Stipulated Final Judgment and Order for Permanent

 Injunction (“2014 Permanent Injunction”) against Katz and Acquinity. See Acquinity Matter at

 ECF No. 132. Katz’s attorney, Linda Goldstein, agreed to the terms of the 2014 Permanent

 Injunction and jointly with the FTC sought and agreed to its entry [Acquinity Matter at ECF No.

 128].

         33.    The 2014 Permanent Injunction prohibited Katz from, among other things,

 “making, or assisting others in making, expressly or by implication, any false or misleading

 representation including representations concerning the cost, performance, efficacy, nature,

 characteristics, benefits, or safety of any product or service, or concerning any consumer’s

 obligation to pay for charges for any product or service.” See Acquinity Matter, ECF No. 132 at

 2. The 2014 Permanent Injunction also subjected Katz to ongoing compliance monitoring. See

 id. at 7-12.

         34.    On or about March 14, 2017, attorneys Linda Goldstein and Defendant Melton left

 their employment with the law firm Manatt, Phelps & Phillips, LLP and began their employment

 with Baker.


                                                9
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 10 of 20




         35.     As such, attorney Linda Goldstein’s and Defendant Melton’s actual knowledge of

  the 2014 Permanent Injunction and the terms and restrictions it imposed on Katz and his businesses

  became knowledge of and was imputed to Baker upon their employment with Baker.

           Defendants’ Representation of the OPG Entities Related to Compliance Matters

         36.     At all times material to this action, and throughout the OPG Entities’ actions as

  alleged in the foregoing paragraphs, the Defendants held themselves out to be experienced in

  representing individuals and entities in connection with the FTC Act and related laws and with

  legal compliance reviews and analyses and represented the OPG Entities for this purpose.

         37.     In or about May 2017, the OPG Entities retained Defendant Melton and the Baker

  firm to conduct a compliance analysis and assess the legal risks of their business models and

  websites to determine whether they complied with applicable laws.

         38.     In or about May 2017, Melton and other partners and associates of Baker conducted

  a legal compliance analysis of the OPG Entities’ business model. Defendants Baker and Melton

  failed to raise any substantive concerns regarding the business model.

         39.     In addition, throughout May and June 2017, Melton prepared numerous

  correspondence on Baker letterhead and directed to Brent Levison at OnPoint Global-related

  entities, PBJ Media, LLC, MBL Media, Ltd, and Rogue Media Services, LLC, in which she

  provided “assess[ment of] the legal risk of a new business model” which would provide online

  “concierge services” to residents of certain enumerated states, in order to process those residents’

  renewals of vehicle registrations.

         40.     Melton concluded that her “legal research did not uncover any legal challenges to

  this type of business model, either in connection with private legal actions or with governmental




                                                  10
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 11 of 20




  enforcement agencies.” She further opined that the business model presents a “low legal risk,” if

  certain disclosures were made on the websites.

         41.     Later, in September, 2017, Charlie Eissa, on behalf of the OPG Entities, requested

  that Defendant Melton and Baker conduct a, “thorough legal and compliance review” of the entire

  business models and websites specifically requesting that the review and counsel provided by

  Melton and Baker “ensure total compliance”. Defendant Melton acknowledged that “[t]his is a

  large scale compliance review”.

         42.     Specifically, Defendant Melton and Baker were asked to and agreed to review 16

  web properties and marketing processes for website disclaimers, data collection, landing pages site

  content, the Guide, text communications, and e-mail communications. Both Freemium and paid-

  guide websites were provided for review in substantially the form found non-compliant by the

  Court in the FTC Enforcement Action.

         43.     When Melton moved from Baker to Cowell in late 2018, Melton and other lawyers

  employed by Baker continued to provide FTC Act compliance work, as well as data collection,

  security and online privacy advice to the OPG Entities. On the latter point, an attorney employed

  by Baker advised Mr. Levison regarding the “onpoint global site” and California law concerning

  online privacy and the collection of personal information from Californians but concluded that

  “given the relatively small amount of information being collected, and the fact it’s primarily an

  informational page, you’re at low risk for enforcement.”

         44.     At no time did Melton or Baker raise any concerns about the OPG Entities’ business

  model including the “ Freemium or paid-guide” business despite their supposedly thorough legal

  and compliance review of same.




                                                   11
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 12 of 20




         45.    Furthermore, despite Melton and Baker’s actual knowledge of the 2014 Permanent

  Injunction and the restrictions it imposed and compliance it required, at no time did Melton or

  Baker acknowledge or alert the OPG Entities or explain the increased risks and scrutiny attendant

  to the 2014 Permanent Injunction which applied to and imposed restrictions on Katz as well as the

  OPG Entities as companies formed and operated by Katz or otherwise include in their advice

  compliance counseling as it related to the 2014 Permanent Injunction.

         46.    On April 5, 2019, Melton provided Crowell’s “Compliance Monitoring Program”

  to On Point Global: an ongoing compliance monitoring program to “ensure that OnPoint Global,

  LLC complies with applicable laws and regulations and thereby reduces the risk of government

  investigations, consumer claims and partner indemnity demands.” Crowell further proposed a

  schedule to continually review the websites and marketing materials in order to flag any

  compliance issues.

         47.    Thereafter, Crowell provided compliance counseling to OPG Entities. Crowell

  represented that such counseling included an Initial Comprehensive Review of websites and

  provided tracking of the websites reviewed and supposed periodic reviews. Until the time that the

  FTC brought suit against the OPG Entities in December of 2019, alleging violations of the FTC

  Act based on the OPG Entities’ business model and deceptive websites, Defendants failed to

  provide advice that would correct violations of the FTC Act.

         48.    Melton also provided “legal training” to the OPG Entities on or about March 11,

  2019, which included a PowerPoint presentation reflecting that Melton provided information to

  the OPG Entities regarding basic consumer protection principles, telemarketing law, lead

  generation issues, .com disclosures, CAN-SPAM, and privacy and data security.




                                                 12
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 13 of 20




         49.     At no time did Melton or Crowell raise any concerns about the OPG Entities’

  business model despite their purported thorough legal and compliance review and the training

  provided to the OPG Entities as to same.

         50.     Furthermore, as discussed supra, despite Melton’s actual knowledge of the 2014

  Permanent Injunction, which is imputed to Crowell, and the restrictions it imposed and compliance

  it required, at no time did Melton or Crowell acknowledge or alert the OPG Entities or any of their

  principals of the Acquinity Matter proceedings or the 2014 Permanent Injunction which applied to

  and imposed restrictions on Katz as well as the OPG Entities as companies formed and operated

  by Katz.

                            The OPG Entities’ Violations of the FTC Act

         51.     Section 5(a) of the FTC Act, under which the FTC sued the OPG Entities and all

  Defendants named in the FTC Enforcement Action, prohibits the use of “unfair and deceptive acts

  or practices in or affecting commerce.”

         52.     In its September 29, 2021 Order on Cross Motions for Summary Judgment, the

  Receivership Court conducted its section 5(a) analysis pursuant to a three-pronged test: “(1) there

  was a representation or omission; (2) the representation or omission was likely to mislead

  consumers acting reasonably under the circumstances; and (3) the representation or omission was

  material.”. FTC Enforcement Action, ECF 528 at p.12.

         53.     As determined by the Receivership Court relating to the illegal paid-guide

  businesses:

         “Renew your License.” “Renew Car Registration.” On Point made these statements
         and others like them on their paid-guide-related websites. Taken alone, these
         representations could lead a reasonably prudent consumer to believe that they were
         going to renew their license or car registration on these websites. But consumers
         did not receive these services. Rather, for nearly $30 each, consumers received a
         pdf guide with information that could otherwise be accessed for free from the

                                                  13
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 14 of 20




         government. Moreover, the guide websites contained notable omissions—the sites
         omitted any disclosures that informed consumers that they were not receiving the
         services above. [Emphasis in original]

         54.     The Receivership Court determined that the representations and omissions on the

  websites were material and noted that the FTC produced evidence that consumers did rely on the

  misrepresentations and omissions, customers complained, and third-party search-engine entities

  and credit card issuers suspended the OPG Entities’ accounts. Defendants represented the OPG

  Entities throughout the applicable time of the violations.

         55.     The Receivership Court also determined that the representations and omissions

  were likely to mislead reasonable customers, as highlighted by the FTC’s following evidence: (1)

  a chargeback threshold that was so high that the OPG Entities’ accounts breached payment

  processors’ thresholds sixty-four times over three years; (2) customer complaints both by phone

  and online, all of which the OPG Entities worked to hide; (3) four consumer affidavits and

  hundreds of consumer complaints; and (4) the third-party search engines’ shutdowns of the OPG

  Entities’ accounts due to designations as “high risk” and “high probability of scam/fraud.”

         56.     At all times material hereto, the Defendants provided continuous compliance

  advice, review and work for the OPG Entities, and were aware or should have been aware of the

  deceptive nature of the OPG Entities’ business model and websites, as evidenced by the significant

  “red flags” surrounding the OPG Entities’ conduct during the time when the Defendants were

  purportedly ensuring the OPG Entities’ compliance with controlling law.




                                                  14
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 15 of 20




   The FTC’s Motion for an Order to Show Cause Why Katz and the OPG Entities Should Not Be
               Held in Contempt for Violations of the 2014 Permanent Injunction

         57.     On February 12, 2020, in the Acquinity Matter, the FTC filed a Motion for an Order

  to Show Cause Why Katz and the OPG Entities Should Not Be Held in Contempt for their

  violations of the terms of the 2014 Permanent Injunction. See Acquinity Matter ECF No. 135.

         58.     The FTC alleged, among other things, that Katz and On Point Global, LLC as well

  as twelve (12) entities associated with and/or subsidiaries of On Point Global, LLC (the “Contempt

  Defendants”) operated a deceptive business that, much like this prior business model which was

  the subject of the Acquinity Matter, used deceptive websites to lure consumers into giving up

  money and personal information in direct violation of the terms of the 2014 Permanent Injunction.

  See Acquinity Matter, ECF No. 135 at p.2.

         59.     Katz retained Defendant Melton and Baker attorney Linda Goldstein to represent

  him in the Acquinity contempt proceedings.

         60.     On September 29, 2021, the Contempt Court entered its Order on Motions for

  Summary Contempt [Acquinity Matter at ECF No. 225] which granted in part the FTC’s Motion

  for Summary Contempt as to the Contempt Defendants and as to Katz and Brent Levison, holding

  these Defendants in contempt for violating the terms of the 2014 Permanent Injunction. A copy

  of the Contempt Court’s Order on Motions for Summary Contempt is attached hereto as Exhibit

  A.

         61.     As to Katz, the Court found, among other things, that Katz: (1) was bound by the

  2014 Permanent Injunction; (2) had actual notice of it and its restrictions and requirements; and

  (3) played an active role at On Point Global, LLC and, as such, he had sufficient management and

  control or power to prevent the OPG Entities from making of false or misleading material



                                                 15
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 16 of 20




  representations which led to their violation of the 2014 Permanent Injunction. Thus, Katz violated

  the terms of the 2014 Permanent Injunction and was held in contempt. See id.

         62.      As to the Contempt Defendants, which included On Point Global, LLC, the

  Contempt Court found, among other things, that each entity: (1) had actual notice of the 2014

  Permanent Injunction as imputed through Katz and Brent Levison; and (2) acted in active concert

  or participation with Katz as each entity had a specific role in assisting Katz carry out the deceptive

  scheme. As such, the Court found the Contempt Defendants violated the terms of the 2014

  Permanent Injunction and held them in contempt. See id.

         63.      As to damages, the Contempt Court deferred ruling on the appropriate relief until

  after the show-cause hearing which was scheduled for the trial-period beginning on October 25,

  2021. See id.

         64.      Ultimately, in conjunction with the Verdict and Order Following Non-Jury Trial

  entered in the FTC Enforcement Action and the contempt findings in the Order on Motions for

  Summary Contempt, the Receivership Court set contempt damages in an amount not to exceed

  $102,768,235.47 (the final amount to be determined by a claims process to be approved by the

  Receivership Court and implemented by the Receiver) as outlined supra.

         65.      As discussed herein, the Defendants had actual knowledge of the 2014 Permanent

  Injunction and its restrictions and requirements. Despite having actual knowledge of the 2014

  Permanent Injunction and that Katz and the OPG Entities were in violation of same, the Defendants

  failed to competently counsel the OPG Entities as to the risks presented by the business models

  and the violation of the restrictions of the 2014 Permanent Injunction and the consequences thereof

  directly causing and contributing to the harm incurred by the OPG Entities by way of the Courts’

  findings in both the Acquinity Matter and the FTC Enforcement Action.


                                                    16
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 17 of 20




                The Defendants Breached their Fiduciary Duties to the OPG Entities

         66.       As attorneys for the OPG Entities, the Defendants owed a fiduciary duty to the OPG

  Entities to, among other things, exercise diligence and care in assuring that the OPG Entities

  operated in compliance with the law and within the terms of the 2014 Permanent Injunction and

  in the best interests of the OPG Entities and their investors and customers.

         67.       In their fiduciary capacities, the Defendants permitted, and, indeed, advised the

  OPG Entities to operate in violation of the law and in violation of the 2014 Permanent Injunction.

  As set forth above and more fully described below, the Defendants failed to counsel the OPG

  Entities that their business models violated both the FTC Act and the 2014 Permanent Injunction.

         68.       The Defendants failed to counsel the OPG Entities that their business model

  violated the FTC Act, that the websites were deceptive, and that, unless the OPG Entities changed

  their model, the OPG Entities would be operating in violation of the FTC Act and the 2014

  Permanent Injunction. Instead of warning them of the risks, the Defendants counseled the OPG

  Entities to continue to operate in violation of the FTC Act and the 2014 Permanent Injunction,

  until they were shut down by the Court in the FTC Enforcement Action and the Receiver was

  appointed.

         69.       The Defendants failed to provide reasonably prudent advice under the

  circumstances.

         70.       As a result of Defendants’ negligence, the OPG Entities suffered substantial harm.

         71.       One of the duties of the Receiver is to bring claims against third parties on behalf

  of the OPG Entities and for the benefit of the OPG Entities’ creditors and customers. This lawsuit

  is brought pursuant to that duty.




                                                    17
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 18 of 20




          72.     All conditions precedent to the bringing of this action have been performed or

  satisfied or have occurred.

                                          COUNT ONE
                                      LEGAL MALPRACTICE

          73.     Plaintiff hereby reasserts the allegations set forth in paragraphs 1 through 72 as if

  fully set forth herein.

          74.     An attorney-client relationship existed between the OPG Entities and the

  Defendants in that the OPG Entities retained Defendants to perform legal services related to the

  implications of the FTC Act on their businesses and their compliance therewith, and later, to

  represent the OPG Entities in connection with the FTC Enforcement Action and contempt

  proceedings in the Acquinity Matter. Each of the Defendants, individually or through individual

  representatives, performed work for the OPG Entities at times from 2017 through at least

  December 2019.

          75.     As described herein, Melton and Baker also represented Katz in the Acquinity

  Matter and as such had full knowledge of the implication of the 2014 Permanent Injunction on

  Katz, the CEO of the OPG Entities, and on the OPG Entities.

          76.     As a result of the attorney-client relationship between the OPG Entities and the

  Defendants, each of the Defendants owed a duty of care and skill to the OPG Entities, including a

  duty to fully, fairly, and competently represent the OPG Entities in connection with the

  implications of the FTC Act and the 2014 Permanent Injunction on their businesses and their

  compliance therewith. The Defendants owed duties to the OPG Entities to, among other things,

  exercise ordinary care, skill and knowledge that members of the legal profession ordinarily

  possess, give competent legal advice about the law and the consequences of violations of the FTC

  Act and other regulatory requirements and to assist the OPG Entities by fully researching the OPG

                                                   18
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 19 of 20




  Entities’ business model and the application of the FTC Act: (i) to determine whether the OPG

  Entities could continue to operate under their current business model without violating the FTC

  Act; (ii) to determine whether the OPG Entities were exposed to the risk of damages as a result of

  the FTC Act; (iii) to provide adequate warnings to the OPG Entities regarding the legal

  implications of their ongoing operations; and (iv) to provide competent, responsible legal advice

  in light of and in connection with the FTC investigation and enforcement action. The Defendants

  had a duty to perform the aforementioned duties with the care, skill, and diligence that are

  ordinarily employed by attorneys in the profession.

         77.     The Defendants failed to exercise the duty of care ordinarily employed by attorneys

  who are in their profession when performing legal services for the OPG Entities in advising the

  OPG Entities in connection with the FTC Act, the common law, and the 2014 Permanent

  Injunction. Defendants knew or should have known that the OPG Entities’ business model and

  websites violated the FTC Act, common law, and the 2014 Permanent Injunction. A competent

  attorney using ordinary care would have effectively warned the OPG Entities that they could not

  continue to operate under their then-current business model without running afoul of the law. This

  failure to exercise ordinary care amounted to a breach of Defendants’ duty of care arising from the

  OPG Entities’ engagement of Defendants to perform legal services for them.

         78.     As a result of the Defendants’ breach of their duty to the OPG Entities, the OPG

  Entities sustained significant damages and loss. Specifically, the OPG Entities’ damages include

  the imposition of compensatory contempt sanctions not to exceed $102,768,235.47 (the final

  amount to be determined by a claims process approved by the Receivership Court and being

  implemented by the Receiver), together with millions of dollars in attorneys’ fees and costs to

  defend the OPG Entities in the FTC Enforcement Action defense and in fees and costs of the


                                                  19
Case 1:22-cv-22606-JLK Document 1 Entered on FLSD Docket 08/16/2022 Page 20 of 20




  Receiver and her attorneys in carrying out the Receiver’s duties under the Receivership Court’s

  Orders.

            WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for the OPG Entities, hereby

  demands judgment against the Defendants for the total amount of damages resulting from the legal

  malpractice, breaches of fiduciary duty, and breaches of contract by the Defendants, and such

  further relief as this Court deems to be appropriate and just.

                                     DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a jury trial on all issues and claims so triable.

  Dated: August 16, 2022



                                                   Respectfully submitted,

                                                   /s/ Kenneth Dante Murena
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                                                   Court-Appointed Receiver




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